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          Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 1 of 26 PageID #: 2



                                 IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF DELA WARE

     UNITED STATES OF AMERICA,                              )
                                                            )
                                      Plaintiff,            )
                                                            )
                        v.                                  )      Criminal Action No. 11 -   /1 ~ V N t\
                                                            )
     AEGIS ELECTRONIC GROUP, INC.                           )
                                                            )
                                      Defendant.            )

                                  DEFERRED PROSECUTION AGREEMENT

     1.          PARTIES

                 This Deferred Prosecution Agreement (the "Agreement") is entered into between the

     United States of America, by and through the United States Attorney's Office for the District of

     Delaware (collectively, the "United States"), and Aegis Electronic Group, Inc. ("Aegis"),

     collectively referred to herein as "Parties," by and through their authorized representatives.

     II.         TERMS AND CONDITIONS OF DEFERRED PROSECUTION AGREEMENT

     Criminal Charges

     1.          Aegis shall waive indictment and agrees that the United States will file a one count

     information (hereinafter "the Information") in the United States District Court for the District of

     Delaware, charging Aegis with one count of failing to comply with the International Emergency

     Economic Powers Act, Title 50, United States Code, Section 1701, et seq., and the Iranian

     Transaction Regulations, 31 Code of Federal Regulations, Part 560.



     2.          Aegis agrees to pay the United States Department of Treasury, Office of Foreign Assets

     Control (OF AC) $20,000 (the "Settlement Amount"), no later than twenty months from the date
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          1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 2 of 26 PageID #: 3



  of this Agreement by electronic funds transfer pursuant to written instructions to be provided by

  OFAC.     The parties incorporate by reference the settlement agreement between Aegis and

  OFAC, and agree that a breach by Aegis of the OFAC settlement agreement constitutes a breach

  of this agreement.   The twenty month period following the execution of this Agreement shall be

  known as the "Deferral Period."

  Deferred Prosecution

  3.      In light of the fact that Aegis has accepted responsibility for the actions referenced in the

  Statement of Facts as set forth in the attached Appendix A (hereinafter "Statement of Facts"),

  and because Aegis has agreed to undertake the Remedial Action Plan, and in consideration for

  the other terms recited herein, the United States will recommend that prosecution of Aegis on the

  Information shall be deferred pursuant to the terms and conditions set forth herein.

  4.      Aegis agrees that the United States has probable cause to bring the charge in the

  Information, and that the charge is not frivolous, vexatious or made in bad faith.        Aegis also

  agrees that if at a future time the government should move to dismiss the Information pursuant to

  this Agreement, Aegis is not a "prevailing party" with regard to the Information.      Aegis further

  waives any possible claim for attorney's fees and other litigation expenses arising out of the

  investigation or prosecution of this case.

  5.     The United States agrees that if Aegis complies with all of its obligations under this

  Agreement, the United States, within thirty (30) days after the expiration of the Deferral Period,

  will file a motion with the Court seeking the dismissal of the Information.

  6.     The United States agrees to conduct a review of Aegis' progress in implementing the

  Remedial Action Plan prior to the conclusion of the Deferral Period.     If, in the sole discretion of

  the United States, the United States concludes from its review that: (l) Aegis has successfully

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     I '
     Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 3 of 26 PageID #: 4



implemented the Remedial Action Plan, (2) Aegis is in full compliance with all of its obligations

under this Agreement and (3) no further monitoring under this Agreement is necessary, the

United States shall file a motion to dismiss the Information.    Aegis and the United States agree

that a dismissal of the Information prior to the expiration of the full twenty       month Deferral

Period will be considered a closing of the Deferral Period and a termination of any further

obligations under this Agreement unless otherwise required by applicable law.

7.       Aegis agrees to waive its right to raise any defense relating to the statute of limitations

with regard to the charge set forth in the Information, and agrees that the applicable statute of

limitations period for any charges arising out of the conduct described in the Appendix A shall

be tolled during the term of this Agreement.      Aegis further agrees not to assert any right to a

speedy trial pursuant to the Sixth Amendment of the United States Constitution, or Title 18,

United States Code, Section 3161, or Federal Rule of Criminal Procedure 48(b), or any local rule

of the District of Delaware, with respect to the Information.

Remedial Actions & Non-Prosecution

8.       Aegis agrees to implement the Remedial Action Plan and such other remedial actions that

might be necessary to ensure that Aegis is in compliance with the export laws of the United

States of America.     Aegis further agrees not to willfully commit any violation of the export

laws of the United States of America.

9.       As outlined in the Remedial Action Plan, Aegis agrees to continue its independent

internal investigation of its possible violations of the export laws of the United States.   Nothing

in this Agreement shall preclude or limit the United States from bringing a criminal prosecution

for any criminal violation of the Arms Export Control Act or its implementing regulations, or the

International Emergency Economic Powers Act, that Aegis fails to inform the United States

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      I'
"    Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 4 of 26 PageID #: 5



    about prior to the date of this Agreement.   Nothing in this Agreement shall preclude or limit the

    United States from bringing a criminal prosecution against Aegis under any criminal statute for

    any criminal act that takes place after the date of this Agreement.

    Statement of Facts

    10.    Aegis agrees that the Statement of Facts attached as Appendix A is true and accurate to

    the best of its knowledge and belief.    In respect to those facts to which it has no independent

    knowledge, Aegis agrees that they are true and accurate for the limited and sole purpose of this

    Agreement.

    11.    Aegis acknowledges responsibility, as set forth in the Statement of Facts, for the (1)

    criminal and illegal conduct of Jim Larrison, a former Aegis employee, and (2) the acts of those

    individuals and entities who acted on behalf of Aegis.

    12.    Aegis agrees that it will not, through its present or future attorneys, board of directors,

    agents, affiliates, officers or employees, make any public statement, including statements or

    positions in litigation in which any United States department or agency is a party, contradicting

    any statement of fact set forth in the attached Statement of Facts. Any contradictory public

    statement by Aegis, its present or future attorneys, board of directors, agents, affiliates, officers

    or employees, shall constitute a breach of this Agreement.        The decision as to whether any

    public statement by an Aegis representative will be imputed to Aegis for the purpose of

    determining whether Aegis has breached this Agreement shall be at the sole discretion of the

    United States.   If and when the United States determines that a contradictory statement was

    made by Aegis, the United States shall so notify Aegis and discuss, in good faith, whether the

    statement is contrary to the intent of this paragraph 12.   If a contradictory statement was made,

    Aegis may avoid a breach of this Agreement by publicly repudiating such statement within three

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 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 5 of 26 PageID #: 6



business days after the conclusion of the good faith discussions between the Parties.

Cooperation

13.    Aegis agrees to cooperate during the Deferral Period with the United States, and, as

directed by the United States, with any other governmental department or agency regarding any

matters related to this Agreement.

14.    Aegis agrees that with respect to this Agreement, Aegis' cooperation shall include, but is

not limited to, the following:

       a.      Truthfully disclosing information within Aegis' possession, custody or control

               with respect to the activities of Aegis, its affiliates and its present and former

               officers, agents, and employees, concerning the subject matters inquired into by

               the United States regarding possible violations of the laws, regulations and

               programs listed in Section LA. of the Remedial Action Plan.         This obligation of

               truthful disclosure includes an obligation to provide the United States access to

               Aegis' documents and employees, whether or not located in the United States, and

               reasonable access to Aegis' facilities for that purpose.

       b.      Assembling, organizing and providing on request from the United States,

               documents, records or other tangible evidence in Aegis' possession, custody, or

               control in such format as the United States reasonably requests. Where

               appropriate, Aegis will continue to use the services of expert technical consultants

               to assist in the identification and retrieval of relevant information and data.

       c.      Using its reasonable best efforts to make available its present or former officers,

               directors and employees, whether or not located in the United States, to provide

               information andlor testimony as requested by the United States, including sworn

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  Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 6 of 26 PageID #: 7




               testimony before a federal grand jury or in federal trials, as well as interviews

               with federal authorities. Cooperation under this paragraph will include

               identification of witnesses who, to Aegis' knowledge, may have relevant

               information regarding possible violations of the laws, regulations and programs

               listed in Section LA. of the Remedial Action Plan.

       d.      Providing testimony and other information deemed necessary by the United States

               or a court to identify or establish the original location, authenticity, or other

               evidentiary foundation necessary to admit into evidence documents or other

               exhibits in any criminal or other proceeding as requested by the United States.

15.    Aegis agrees that the United States, in its sole discretion, may disclose to any government

department or agency any information, testimony, document, record or other tangible evidence

provided to the United States pursuant to this Agreement.

Breach of Agreement

16.    Aegis agrees that a knowing failure to abide by or fully perform any of the terms,

promises or agreements set forth in this Agreement shall constitute a breach of the Agreement.

17.    If the United States determines that Aegis has committed a knowing material breach of

this Agreement, the United States shall provide Aegis with written notice of this preliminary

breach determination.   Within thirty (30) calendar days from the date of the government's

written notice, Aegis shall have the right to make a presentation to the United States or its

designees to demonstrate that no breach has occurred, or to the extent applicable, that the breach

was not a knowing or material breach or that the breach has been cured.   If Aegis elects to make

a presentation, the United States shall thereafter provide written notice to Aegis of the United

States final determination regarding whether a breach occurred within thirty (30) days of the

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  Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 7 of 26 PageID #: 8



presentation.      If Aegis fails to make a presentation within the thirty (30) day time period, the

initial notification will become the United States' final determination.

18.        If the United States makes a final determination that Aegis has made a knowing and

material breach of this Agreement, the United "States may elect from the following remedies

depending on the nature and seriousness of the breach:

           Remedy 1 - The United States may give Aegis a specific time period in which to remedy

           the breach.   If the United States determines that Aegis has failed to remedy the breach

           during the specified time period, the United States may elect Remedy 2 below.

           Remedy 2 - The United States may prosecute Aegis with regard to the Information and

           any other criminal conduct.       Aegis shall be deemed to have stipulated to the

           admissibility into evidence of the Statement of Facts.      Aegis shall also be precluded

           from offering any evidence or arguments that the statements in Appendix A are untrue.

           Aegis agrees that all statements made by and on behalf of Aegis, including testimony

           given by Aegis or any employee (current or former) at Aegis' direction before a grand

           jury, or elsewhere, shall be admissible in evidence when offered by the United States in

           any and all criminal proceedings brought by the United States against Aegis.          Aegis

           further agrees that it shall not assert any claim under the United States Constitution, Rule

           410 of the Federal Rules of Evidence, or any other rule, that statements made by, on

           behalf, and at the direction of Aegis prior to or subsequent to this Agreement should be

           inadmissible or suppressed.    Aegis also agrees to waive any right to be indicted by a

           grand jury and stipulates that the United States may proceed by Information.

III.       GENERAL TERMS AND CONDITIONS

19.        It is expressly understood that this Agreement has no bearing on the rights and

                                                    7
  Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 8 of 26 PageID #: 9




obligations of either Party with respect to potential administrative suspension and debarment

Issues.     However, the United States agrees to notifY administrative agencies that may initiate

any civil proceedings involving Aegis related to acts referenced in the Statement of Facts of this

Agreement, the Remedial Action Plan, and Aegis' cooperation in the government's investigation.

20.       Upon completion of the Deferment Period and dismissal of the Information, Aegis fully

and finally releases the United States, its agencies, employees, servants, and agents from any

claims (including attorneys' fees, costs, and expenses of every kind and however denominated)

which Aegis has asserted, could have asserted, or may assert in the future against the United

States, its agencies, employees, servants, and agents, related to the United States' investigation

and prosecution of the transactions described in Appendix A.

21.       This Agreement, together with all the obligations and terms hereof, shall inure to the

benefit of and shall bind assigns, successors-in-interest, or transferees of the Parties thereto

within the Deferral Period.

22.       Each of the signatories of this Agreement represents that he or she has the full power and

authority to enter into this Agreement.

23.       This writing constitutes the entire agreement of the signatories with respect to the subject

matter of this Agreement and may not be modified, amended or terminated except by a written

agreement signed by the Parties specifically referring to this Agreement.

24.       Aegis agrees that, if Aegis' business operations are sold, whether by sale of stock, merger,

consolidation, sale of a significant portion of its assets, or other form of business combination, or

otherwise undergo a direct or indirect change of control within the Deferral Period under this

Agreement, Aegis shall include in any contract for the sale or merger a provision binding the

purchaser/successor to the obligations of this Agreement, including Appendix B.

                                                   8
  Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 9 of 26 PageID #: 10




25.     It is further understood that this Agreement does not relate to or cover any criminal

conduct by Aegis other than the conduct or transactions within the scope of the Investigation, as

described in this Agreement.

26.     All parties consent to the public disclosure of this Agreement. The parties agree that this

Agreement and any order related thereto shall be publicly filed in the United States District

Court for the District of Delaware.

27.    This Agreement may be executed in counterparts, each of which constitutes an original

and all of which constitute one and the same agreement.

        In Witness Whereof, the Parties, through their duly authorized representatives, hereunder

set their hands.

ON BEHALF OF THE UNITED STATES OF AMERICA

DAVID C. WEISS
Attorney for the United States
Acting Under Authority Conferred by 28 U.S.C. § 515

Keith Rosen
Assistant United States Attorney
Chief, Criminal Division




~
Assistant United States Attorney

ON BEHALF OF AEGIS ELECTRONIC GROUP, INC.

I, Carolynn Larson-Garcia, the duly authorized representative of Aegis, hereby expressly
acknowledges the following: (1) that I have read this entire Agreement; (2) that I have had an
opportunity to discuss this Agreement fully and freely with Aegis' outside attorneys; (3) that
Aegis fully and completely understands each and every one of its terms; (4) that Aegis is fully
satisfied with the advise and representation provided to them by its attorneys; and (5) that Aegis
has signed this Agreement voluntarily.
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Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 10 of 26 PageID #: 11




                                                                                /
DATE:         \


Counsel for Aegis

The undersigned are outside counsel for Aegis. In connection with such representation, we
acknowledge that: (1) we have discussed this Agreement with our clients; (2) that we have fully
explained each one of its terms to our clients; (3) that we have fully answered each and every
question put to us by our clients regarding the Agreement; and (4) we believe our clients
completely understand all of the Agreement's terms.




DATE:                                      Gregory A. Brower, Esq.
                                           Brett W. lohnson, Esq.
                                           Snell & Wilmer LLP
                                           Attorneys for Aegis Electronic Group, Inc.




                                              10
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 11 of 26 PageID #: 12




                                   STATEMENT OF FACTS
                                       APPENDIX A

The United States and Aegis agree to the following statement of facts.

       On September 5, 2007, Amir Ahkami, purportedly a General Purchase employee for SBC
Technology Groups, sent an e-mail to Aegis seeking a quote for certain products to be sent to
Dubai. Aegis communicated with Mr. Ahkami until September 18, 2007, about a possible
purchase. During this communication, Mr. Ahkami did not make any reference in regard to a
re-export to Iran. A purchase and export never occurred at this time.

       In October, 2007, the government obtained a search warrant for the laptop computer of
Iranian procurement agent Amir Ardebili. Pursuant to the warranted search, Immigration
Customs Enforcement ("ICE") agents found communication between Ardebili and Aegis
Electronic Group, Inc.

       On June 26, 2008, Aegis management specifically advised its employees who had
involvement with international purchases about export controls and that transactions in violation
of such sanctions were strictly prohibited. Aegis' senior management sent a memorandum to
its employees listing the government websites associated with prohibited export transactions.

       An ICE Special Agent, acting in an undercover capacity and herein after referred to as the
UCA, purported to be two different businessmen in communicating with Aegis, one by the name
of "Amir Dave" (an alias of Ardebili) and the other as "Harry." On August 15, 2008, "Amir
Dave" contacted Aegis via electronic mail and advised he wanted to purchase a Hitachi-brand
JU-Z2 camera controller from Aegis for export to Iran, by transshipping the merchandise to
Vienna, Austria:

              I am hope that you are remember me from last year. My
              customer have request for the camera control box, PIN: JU-Z2,
              $1900. Can you kindley provide the total amount to include
              shipping to Vienna. I can make arrangements from there to have
              it shipped to my customer in Iran,

              I await your prompt reply,

              Regards,

              Amir

The JU-Z2 is a level converter to enable the remote control of multiple compatible color cameras
(such as the HV-C20A, HV-D15, HV-D25, HV-D27, and HV-D37) from a single personal
computer. Multiple cameras can be controlled by the computer; centralized control can be
performed in studio surveillance and other types of systems.

                                               11
Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 12 of 26 PageID #: 13




        On August 18, 2008, the UCA received an email from Jim Larrison, now a former
employee of Aegis, using the email account iim@aegiselect.com. Larrison emailed the UCA
the following:

             Amir,

             Good Morning. Last week you sent a request to [M, an Aegis
             employee] with our company for a quote on the JU-Z2 control box.
             My name is Jim Larrison and I am now the International Sales Rep
             for Aegis Electronic Group, Inc. [M, an Aegis employee] has
             forwarded me your request. Your cost on the control box is
             $1235.00/usd. In order to provide you with a shipping cost I
             would need your complete ship to address. Please provide me
             with that info. If you have any questions or if I can provide any
             additional assistance please let me know.

             Best Regards,

             Jim

             Jim Larrison
             Aegis Electronic Group

      On August 25,2008, the UCA received an email from Larrison, using the email account
jim@aegiselect.com. Larrison emailed the UCA the following:

             Amir,

             Good Morning. Last week I quoted you on the Hitachi Control
             Box Ju-Z2. I am following up today to make sure you received
             the quote an to answer any questions you may have. Did you
             receive the info? When will you be needing this box? When will a
             decision be made? Please provide me with an update when you
             have a chance. If you have any questions or if I can assist you in
             any way please let me know.

             Best Regards,

             Jim.

      On September 1, 2008, the UCA responded to Larrison with the following email:

             I am apologize for lengthy time to return email.   I speak with my

                                             12
Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 13 of 26 PageID #: 14




             customer in Iran and he wish the product be sent to the following
             address:

             Vabguard International
             Nussdorfe, Stasse 1-140
             Vienna, Austria A -1090

             I will handle the subsequent shipping from Vienna.

             I am look forward to your reply.

             Regards,

             Amir

      On September 2, 2008, the UCA received an email from Larrison using email account
jim@aegiselect.com with the following information:

             Thanks for the email. In order to set up this account and place the
             order I will need your billing address. When you forward me that
             information I will set up your account and send you a performa
             Invoice. The standard terms for International Orders is bank wire
             transfer. I will forward my bank details along with the proforma
             invoice so you can make payment. Once the payment is received
             I will send out the product. Please send me the billing address as
             soon as possible.

             Best Regards,

             Jim.

      On September 9, 2008, the UCA received an email from Larrison using email account
jim@aegiselect.com with the following information:

             Good Morning. Last week you advised me that you wanted to
             order the JU-Z2 Control Box. You provided me with the ship to
             address but I advised you I would need the bill to information so
             that I could set up your account and send you a proforma invoice
             for payment. I have not heard back fro you. Could you please
             provide me with the information as soon as possible so that I may
             process your order. If you have any questions or if I can assist
             you in any way please let me know.

             Best Regards,

                                             13
Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 14 of 26 PageID #: 15




             Jim.

      On September 23, 2008, the UCA received an email from Larrison using email account
jimrmaegiselect.com with the following information:

             Amir,

             Hello. Several weeks ago you sent me an email that you wanted
             to purchase the JU-Z2 Control Box. You gave me the ship to
             address but I advised you I would need the bill to information so
             that I could set up your account and send you a proforma invoice
             for payment. I have not heard from you and have been unable to
             proceed with the order. Please provide me with the necessary
             information so I can process your order. If I don't hear from you
             by Friday I will assume that you have decided to cancel the order.
             Please let me know if you have any questions or if I can assist you
             many way.

             Best Regards,

             Jim.

      On October 6, 2008, the UCA responded to Larrison at the following email address
jim@aegiselect.com, with the following:

             Mr. Larrison,

             I am sorry there seems to be a lot of confusion, I know my english
             is not very good.

             Kan you please use the below address for shipping and billing. I
             will need the box very soon.  How much will it cost just to ship to
             Vienna, do not worry anout iran.

             I think you had more questions that you need answer from me, so I
             am addressing all questions now if I can. If there is anything else,
             please let me know,

             Best Regards

             Amir

      On October 8, 2008, the UCA responded to Larrison at the following email address

                                             14
Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 15 of 26 PageID #: 16




jim@aegiselect.com, with the following:

              Mr. Larrison,

              I apologize again for the lengthy delay in response. Please use
              the Vienna address for billing needs as well as shipping address.
              My customer in Iran is worried that I can not ship to him because
              of export law, but I am ensure to him that I can handle that after
              you ship to me in Vienna. If you need further information for
              billing purposes, please contact Harry (the last name of UCA has
              been intentionally omitted from this search warrant) a business
              partner in London. He can provide you with means of billing,
              and he will make arrangement to pay you.

              Harry
              Vanguard International
              English telephone number
              UCA email address

              Best regards,

              Amir

      On October 9, 2008, the UCA received an email from Larrison using email account
iim@aegiselect.com with the following information:

              Harry,

              Good Morning, I have been working with a business partner of
              yours, Amir Dave. He has placed an order for a JU-Z2 Control
              Box. He has advise me that I should contact you for payment.
              Our terms for payment are bank wire transfer. I am forwarding
              you a copy of the proforma invoice and our bank details for
              payment. If you have any questions or if I can assist you in any
              way please let me know.

              Best Regards,

              Jim.

      On October 20, 2008, the UCA received an email from Larrison using email account
iim@aegiselect.com, with the following information:

              Good Morning.    About a week ago I sent you an Invoice and our

                                             15
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 16 of 26 PageID #: 17




              bank details regarding an order for the Hitachi JU-Z2. This order
              was placed by a business partner of yours Amir Dave. I am
              following up today to make sure you received my email and to
              answer any questions you may have. Did you receive my email?
              Have you sent the payment? When are you going to send it? Please
              provide me with an update when you have a chance. If you have
              any questions or if I can assist you in any way please let me know.

              Thanks.

              Jim.

      On October 21, 2008, the UCA responded to Larrison at the following email address
jim@aegiselect.com, with the following:

              Mr. Larrison,

              I just called your office regarding Invoice number #72344. I must
              apologize for taking so long to return you email. As I simply
              overlooked your last email.

              I am currently awaiting Amirs payment to me. As you can
              imagine, it is rather difficult for Amir to get money to me in
              London. Once I get the money it wont take long to wire it to you.
              Also I need to change the order and have it shipped to the address
              in Vienna, and I will take care of shipping the Control Box to
              Amir.

              Please call me at your earliest convenience.   Again, I apologize
              for the lengthy time in my response.

              Regards,

              Harry

       As the UCA sent the above-mentioned e-mail, Larrison contacted the UCA on his
telephone. The UCA asked Larrison if he had the information in front of him in reference to
invoice number # 72344 and the e-mail that referenced Amir, who is trying to buy a part that the
UCA was not familiar with and referred to a control box. The UCA asked Larrison what the
JU-Z2 Control Box was for. Larrison stated that it was to control up to four cameras with one
personal computer. The UCA asked if he could order two cameras instead of one, Larrison
agreed to change the order. The UCA asked Larrison if he saw the e-mail from him [Amir] on
October 8th. Larrison asked if that was the one with UCA'S information on it. The UCA said,
"maybe." After a brief moment, Larrison advised he had the email, as referenced above, pulled

                                              16
Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 17 of 26 PageID #: 18




up.

           The UCA then said, "you understand where this stuff is going, so that's the problem right
now, there just waiting to get the money from Amir. ... ", Larrison said "OK", " ..... which is
taking a little while to obviously get the money out of Iran to get to me in London so, there
is ..... " Larrison said "OK", " ..... obviously a little bit of.. .. you know a little bit of lag time there,
em .... ", Larrison responded, "Sure". The UCA said, " .... and that's another thing I don't know
why? This guy [Amir] continues to mention where it's going [Iran], which you know obviously
we don't want eh, I'd rather just not even, just avoid talking about that [Iran] all together".
Larrison said "exactly, exactly, I'm pretending I don't.. . .1 know nothing", as he laughed. The
UCA said, "Exactly and that's what I want to do as well, so let's try not to mention that [Iran]
any more, you know obviously with the Embargo, we've got an Embargo in my country [the
United States] and you've got Embargo's in your country [England] with Iran, so there's no
reason to ..... " Larrison said "it was going to Vienna for all I know", the UCA said "Exactly,
so... " and Larrison laughed again. The UCA concluded the conversation, by advising soon as
he got the money from Amir, he would have the money wired to Larrison by a contact in the
United States, it would raise less flags if they did it that way. This call ended at approximately
1:35 P.M., (Eastern Standard Time).

        Approximately thirty minutes after the telephone conversation Larrison emailed the UCA
with the following emails which stated:

                Tuesday, October 21,20085:49 PM (Greenwich Mean Time)

                Harry,

                Here is the updated proforma invoice you requested. If you have
                any questions or if I can assist you further please let me know.

                Thanks,

                Jim

                Tuesday, October 21, 20085:50 PM (Greenwich Mean Time)

                Harry,

                I forgot to attach the invoice before I sent you the last email.
                Here it is.

                Thanks,

                Jim

                                                     17
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 18 of 26 PageID #: 19




             Proforma invoice (971-4-2259535) to the UCA with the following
             information:

             JU-Z2 Hitachi Control Boxes quantity of two:
             $2470.00

             Freight and Handling:                               $175.00
             Wire fee                                            $40.00
             Invoice total                                       $2685.00

        On October 28, 2008, the UCA, acting as "Harry Umbrage," wired US $ 2,685.00 from
his account at WSFS Bank in Wilmington, Delaware, to Aegis' Bank Account for the camera
controllers at issue.

      On October 29, 2008, the UCA emailed Larrison at the following email address
jim@aegiselect.com, with the following:

             Jim,

             On 10/27/08, $2685.00          was    wired    to   the   [BANK
             INFORMATION].

             I noticed on the performa invoice there is a new address for your
             company....Should I use this address for my records or the address
             listed below?

             Can you confirm when you received the money and advise when
             the two JU-Z2 Control Boxes will be shipped to Vienna, Austria.

             I look forward to completing more business with you, upon
             successful delivery of this order to my customer.

             Thanks,

             Harry.

      On October 29, 2008, the UCA received an email from Larrison using email account
iim@aegiselect.com, with the following:

             Hello, I received your wire transfer this morning. I will advise
             when we ship out the control boxes. You may also use the
             address listed in my signature. If you have any questions let me
             know.

                                            18
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 19 of 26 PageID #: 20




              Thanks,

              Jim

        On October 31, 2008, SAC/PH sent an initial license request to ICE Exodus
Accountability Referral System (EARS), in reference to the two JU-Z2 Hitachi Control Boxes
purchased by the UCA from Aegis on October 27, 2008. An initial request for a license
determination was submitted by an ICE Special Agent through the Exodus Command Center.
The Exodus Command Center is the point of contact for ICE special agents which provide
operational support from export licensing authorities.

        On November 5, 2008, the Department of Treasury, Office of Foreign Assets Control
(OFAC) License Determination, referral number 2008-11-3-ICE-01494, indicated that the JU-Z2
Hitachi Control Box did not have a general authorization or exemption for exportation of camera
conversion equipment to Iran. Therefore, a specific license is required for such export to Iran.
OF AC Enforcement searched their central database, which contains records data from 2002 to
the present. No license applications or licenses were found for Aegis.

        In a reply dated November 15, 2008, Exodus Command Center replied that the JU-Z2
Control Box part is not a US Munitions List item under category XII( d) and therefore does not
require a State Department license for export.

      On November 18, 2008, the UCA received an email from Larrison using email account
jim@aegiselect.com, with the following:

              Good afternoon. I was just notified by Hitachi today that the JU-Z2
              controllers that you have ordered are back ordered and wonlt be in
              till Mid December. I will keep you informed and let you know
              when we receive them. If you have any questions please let me
              know.

              Thanks.

              Jim.

        On December 2, 2008, Aegis shipped two (2) Hitachi-brand JU-Z2 camera controller
devices to Vienna, Austria under Aegis Invoice Number 72344. As stated, the total value of the
attempted transaction for these camera controllers was US $ 2,685.00 (including freight and wire
transfer fee).

       On December 5, 2008, the item arrived in Vienna, Austria via UPS.

       On December 8, 2008, Aegis' senior management first learned of the details of this

                                              19
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 20 of 26 PageID #: 21




attempted transaction. UPS contacted Aegis' senior management and stated that the address in
Vienna, Austria was incorrect. Aegis' senior management accessed Larrison's e-mail and
learned for the first time that a possible re-export to Iran could occur.

       Aegis' senior management took immediate action to stop the transaction, divert the
products back to the United States, cancel the transaction, and refund any monies received.

       On January 1, 2009, the UCA emailed Larrison at iim@aegiselect.com and wrote the
following:

             Jim,

             I wanted to check on the progress of the JU-Z2. Last I heard,
             they were supposed to be ready in Mid-December, but I never
             heard back from you.

             Thank you in advance,

             Harry.

       On January 5, 2009, Aegis advised the purported purchaser that it could not ship a
product whose ultimate destination was Iran. On January 5,2009, the UCA received an email
from Larrison using email accountjim@aegiselect.com. with the following:

             Harry,

             Good Morning and Happy New Year. I have been on Vacation
             since December 23 and have not been able to check on the package.
             I have been notified by UPS that the address we were given to ship
             the product to Austria is invalid and they have been shipping
             product to Iran. Due to Embargo's on Iran and Legal issues I will
             not be able to supply you with this product. If you could please
             supply me with the bank name, Swift Code and account number
             you would like me to send the money back to I will do that for you.

             Best Regards,

             Jim.

      On January 6, 2009, the UCA responded to Larrison at the following email address
jim@aegiselect.com, with the following:

             Jim,


                                             20
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 21 of 26 PageID #: 22




              Thank you for your prompt response. I will forward you our
              bank information later. Can you please provide me the tracking
              number and the contact number at UPS, J am concerned that they
              have provided you with that information as that will interfere with
              future business for us. I know it comes as no surprise to who the
              end user of this product was. However, I do not know how UPS
              knows and now we will have to obtain a new address.

              Thank you for your assistance in this matter,

              Harry.

      On January 7, 2009, the UCA received an email from Larrison using email account
jim@aegiselect.com, with the following:

              Harry,

              Please send me your Swift and Bank account info so that J can
              send your money back.          The tracking number was
              1Z9VOF02679650 1037.

              Thanks,

              Jim.

At approximately 1:26 P.M., Larrison responded to the UCA with the following:

              Thanks. I will be sending the money back to you shortly. All of
              the shipping info is the same as whats on the invoice. Due to the
              issues of this being sold to Iran I have been directed to no longer
              discuss any issues with you except the return of the money.
              Please keep all further conversations on this topic.

              Thanks,

              Jim.

       On January 7, 2009, the UCA contacted Larrison telephonically, the following is a
synopsis of the conversation between the UCA and Larrison, and is not verbatim of the recorded
conversation. The UCA asked Larrison if the shipment went to Vienna, Austria. Larrison
advised that the product went to Vienna, Austria. However, UPS said the address was
undeliverable. Subsequently, UPS returned the package to AEGIS. Larrison advised that after
UPS had returned the product his company reviewed the paperwork and advised they could not
send the product, because the UCA wanted to send it to Iran. The UCA asked Larrison if he

                                              21
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 22 of 26 PageID #: 23




could ship the product to another address. Larrison said, "unfortunately not". The UCA asked
for the UPS tracking number, Larrison advised he would e-mail the UPS tracking number to the
UCA. Larrison asked the UCA for his Swift and Bank account information so he could return
the money to the UCA.

       On January 8, 2009, the UCA received an email from Larrison using email account
jim@aegiselect.com. Larrison requested to know the name on the bank account in order to wire
the money to the UCA. Larrison advised he had all of the bank account information.

       On January 9, 2009, Aegis returned $2,470.00 United States Dollars into the undercover
bank account of ICE SAC/PH.

       Aegis initiated an informal investigation into the transaction and the conduct of Larrison.
Larrison claimed ignorance of understanding or comprehending the impact of the transaction,
despite Aegis' senior management e-mail memorandum dated June 26, 2008. As a result,
Aegis enrolled Larrison in export control training through the U.S. Department of Commerce,
Bureau of Industry & Security (BIS). Larrison attended a BIS sponsored training course on
January 27-28, 2009, in Scottsdale, Arizona. The transaction was not reported to law
enforcement authorities.

       On August 26, 2009, ICE agents visited Aegis' corporate offices. Aegis' senior
management was completely cooperative with the agents and answered all of their questions
concerning the cancelled transaction to Austria and Larrison's illegal conduct. By this time,
Larrison was no longer an Aegis employee.

       At the time of the offense, Aegis did not have written export compliance policies and
procedures, export compliance controls, or an export compliance training program. However,
Larrison has admitted that he would have attempted to complete the transaction subject to the
offense regardless of whether or not Aegis had a written export compliance program in place.
Further, Larrison has admitted that he was not forced or coerced into committing his offense and
that Aegis' senior management was not aware of the transaction before it was cancelled on
December 8, 2008.




                                               22
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 23 of 26 PageID #: 24




      B.    Compliance Management Structure

            Aegis shall restructure its management of all Aegis employees charged with the
            responsibility of implementing the compliance laws, regulations and programs
            listed in Section L A. above within three (3) months of the date ofthis Agreement.
            In particular, all Aegis export compliance managers and/or security managers
            with the responsibility of safeguarding export controlled materials, including all
            "Empowered Officials" (hereinafter "EO") pursuant to the ITAR or "Facility
            Security Officers" (hereinafter "FSO") shall be supervised, evaluated and report
            directly to the EMC or other export/security compliance managers who report
            directly to the EMC. All other Aegis export compliance employees or security
            employees with responsibility for safeguarding export controlled materials shall
            be supervised, evaluated and report directly to an export/security compliance
            manager who is directly or indirectly supervised by the EMC. The purpose of
            this provision is to ensure that all Aegis export compliance and security personnel
            with responsibility for safeguarding export controlled materials can act to ensure
            full compliance with the laws, regulations and programs listed in Section I. A.
            above without fear of adverse action.

II.   Compliance Education &Training

      A.    Annual Training

            The Parties acknowledge that Aegis has already instituted a comprehensive export
            compliance program for its employees. All Aegis employees who have access to
            or who manage Aegis employees who have access to export controlled materials
            shall receive annual training which at a minimum shall include the purpose of,
            their responsibilities under, and the potential consequences of violating the
            compliance laws, regulations and programs listed in Section I. A. above. Aegis
            shall submit to the United States an outline of the training to be given along with
            any materials to be provided during the training at least one (1) month prior to the
            training. If the United States does not object or provide comment as to the
            training outline and material prior to the actual training session, such training will
            be deemed approved by the United States. The first annual training pursuant to
            this Remedial Action Plan shall take place within six (6) months of the date of this
            Agreement.



      B.    Additional Manager Training

            Aegis shall ensure that all export compliance managers and security managers,
            including all EOs, FSOs and their immediate assistants shall have sufficient

                                             24
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  . 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 24 of 26 PageID #: 25
 Case




                                 REMEDIAL ACTION PLAN
                                     APPENDIXB

        As part of its obligations pursuant to the Agreement, Aegis agrees to implement the
Remedial Action Plan set forth below. The United States acknowledges that Aegis has already
implemented the majority of the Remedial Action Plan. Aegis understands that the remedial
actions set forth below impose obligations that are in addition to those imposed by existing laws,
regulations and contractual obligations. Nothing in the Agreement shall be construed to, or
shall have the effect of, excusing any failure of Aegis to comply with the provisions of existing
laws, regulations and contractual obligations.

1.       Compliance Management

         A.    Executive Manager of Compliance

              Aegis shall retain an outside consultant to be integrated within its corporate
              structure dedicated to the mission of ensuring that Aegis is in full compliance
              with all U.S. export laws and regulations and all U.S. programs directed at the
              protection of technology, including, but not limited to the following:

               1.     The Arms Export Control Act (hereinafter "AECA") and its implementing
                      regulations contained in the International Traffic in Arms Regulations
                      (hereinafter "ITAR"); and

               3.     The Export Administration ActlInternational Emergency Economic
                      Powers Act (hereinafter "IEEP A") and its implementing regulations
                      contained in the Export Administration Regulations (hereinafter "EAR")
                      and the Office of Foreign Assets Control Regulations;

              Aegis shall submit to the government for approval the name and background of
              the outside consultant who will fill the position of executive manager of
              compliance (hereinafter "EMC") within thirty (30) days of the date of this
              Agreement.      The EMC shall be retained within three (3) months of the date of
              this Agreement. The EMC shall have significant background, training and
              experience with the compliance laws, regulations and programs listed above.
              The EMC will report directly to the Chief Executive Officer of Aegis (hereinafter
              "CEO") and shall have access to Aegis's Board of Directors. The EMC shall
              have the authority and the resources necessary to ensure that Aegis is in full
              compliance with the laws, regulations and programs listed above. If the United
              States does not object or provide comment as to the EMC nominee before the
              retention date of the EMC, such EMC nominee will be deemed approved by the
              United States.


                                               23
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 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 25 of 26 PageID #: 26




              trammg and experience to ensure full compliance with the compliance laws,
              regulations and programs listed in Section I. A. above. The EMC, on behalf of
              Aegis, shall submit to the United States within six (6) months from the date of this
              Agreement, a written certification stating that Aegis has reviewed the background
              and training of all Aegis EOs, FSOs, and their immediate assistants, and that all
              Aegis EOs, FSOs, and their immediate assistants have sufficient training and
              experience to ensure full compliance with the compliance laws, regulations and
              programs listed in Section I. A. above. Aegis shall ensure that all export
              compliance and security managers and their immediate assistants regularly obtain
              additional training to improve and update their knowledge of the export
              compliance laws, regulations and programs listed in Section I. A. above.

       C.     Record Keeping

             Aegis shall keep a record of the training provided and the names and positions of
             the individuals who received training for a period of at least five (5) years. Each
             employee who received training shall sign a document verifying that he/she has
             received the required annual training and understands the purpose of, their
             responsibilities under, and the consequences of violating the export compliance
             laws, regulations and programs listed in Section I. A. above. Aegis shall also
             keep a record of all training received by all export compliance managers and
             security managers, including all EOs, FSOs and their immediate assistants for a
             period of at least ten (10) years.

III.   Mandatory Reporting of Violations

       A.    AECAIITAR Violations

             During the Deferral Period, Aegis shall make an initial written report of all
             violations of the AECAIITAR to the U.S. Department of State, Office of Defense
             Trade Controls Compliance, and the United States within two (2) weeks of the
             discovery of the violation. Aegis shall make written interim and/or final reports
             of all violations of the AECAIITAR as directed by the U.S. Department of State,
             Office of Defense Trade Controls Compliance. During the Deferral Period, a
             copy of any interim or final reports shall also be provided to the United States.


       B.     lEEPAlEAR Violations

             During the Deferral Period, Aegis shall make an initial written report of all
             violations of the lEEPAIEAR to the U.S. Department of Commerce, Office of
             Export Enforcement, and the United States within two (2) weeks of the discovery
             of the violation. Aegis shall make written interim and final reports of all

                                              25
 Case 1:11-cr-00017-GMS Document 2 Filed 03/09/11 Page 26 of 26 PageID #: 27




             violations of IEEPAJEAR as directed by the U.S. Department of Commerce,
             Office of Export Enforcement. During the Deferral Period, a copy of any interim
             or final reports shall also be provided to the United States.

IV.   Compliance Investigation

      A.     Export Compliance

      During the Deferral Period, Aegis shall conduct an export compliance audit of each
      Aegis business unit that has access to export controlled materials. The primary purpose
      of these audits will be to identify past and present violations of the compliance laws,
      regulations and programs listed in Section 1. A. above. The audits shall also determine
      whether each Aegis business unit has a sufficient program and resources to ensure full
      compliance with the export laws of the United States. The audits shall also determine
      whether proper export licenses are in place and whether the terms, conditions, and
      provisos of Aegis' export licenses are being fully complied with. Upon completion of
      the audit, a copy of the audit shall be provided to the United States. Within three (3)
      months of the completion of each audit, the Chief Executive Officer of the Aegis
      business unit audited shall sign and submit to the United States a certification stating
      that a comprehensive audit has been completed. All export compliance audits shall be
      completed within six (6) years of the date of this Agreement. All export compliance
      deficiencies shall be corrected within the Deferral Period.

V.    Compliance Certification

      The Chief Executive Officer of Aegis shall sign a compliance certification stating the
            following:

             "I, (Name)                   , (Title)                       , on behalf of Aegis
             Electronic Group, Inc.                   , do hereby certify that to the best of my
             knowledge and belief, Aegis Electronic Group, Inc. is in full compliance with the
             export laws of the United States. I further certify that all violations of the export
             laws of the United States have been reported to the appropriate official(s) of the
             United States government."

             The executed compliance certification shall be dated and notarized by a notary
             public. The executed compliance certification shall be forwarded to the United
             States no later than the last day of the Deferral Period.




                                              26
